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     5   Facsimile: (702) 699-9455
     6   Attorneys for Plaintiff
         KINSALE INSURANCE COMPANY
     7

     8                                  UNITED STATES DISTRICT COURT
     9                                         DISTRICT OF NEVADA
    10

    11   KINSALE INSURANCE COMPANY,         )                   CASE NO.: 2:23-CV-01205-CDS-NJK
                                            )
    12              Plaintiff,              )                   NOTICE OF SETTLEMENT AS TO
                                            )                   DEFENDANT FALCON CLIFF, LLC ONLY
    13        vs.                           )
    14   JD ROSS ENTERPRISES LLC dba UNIQUE )
         CUSTOM HOMES AND FALCON CLIFF, )
         LLC,                               )
    15                                      )
                    Defendants.             )
    16                                      )
    17            NOTICE IS HEREBY GIVEN Plaintiff, Kinsale Insurance Company and Defendant Falcon
    18   Cliff, LLC have reached a settlement of all claims in this matter. The parties request that all future
    19   deadlines be vacated as to Defendant Falcon Cliff, LLC only. Once the settlement process is
    20   complete, the parties will submit a Stipulation for Dismissal with Prejudice and proposed Order with

    21   Plaintiff, Kinsale Insurance Company, and Defendant, Falcon Cliff, LLC, bearing its own fees and

    22   costs.

    23   DATED: November 16, 2023                               MORALES FIERRO & REEVES
    24
                                                       By       /s/Kelly A. Hedberg
    25                                                          Ramiro Morales
                                                                Kelly A. Hedberg
    26                                                          Attorneys for Plaintiff
                                                                KINSALE INSURANCE COMPANY
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         NOTICE
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                                            CERTIFICATE OF SERVICE
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     2           I, the undersigned, am employed by the Law Offices of Morales Fierro & Reeves located at
T
         1440 Maria Lane, Suite 200, Walnut Creek, CA 94596. I am over the age of eighteen years and not
     3   a party to the within action.

     4          On the below date, I served the document(s) described as:

     5   NOTICE OF SETTLEMENT AS TO DEFENDANT FALCON CLIFF, LLC ONLY

     6   On all interested parties in this action, in the manner set forth below:
     7   BY ELECTRONIC SUBMISSION: By electronic mail transmission to the parties listed below.
     8
          Brandi M. Segura, Esq.                                 Attorneys for Defendant FALCON CLIFF,
     9    Lex Domus Law                                          LLC
          1712 Tesara Vista Place
    10    Las Vegas, NV 89128
          brandi@lexdomuslaw.com
    11    (702) 340-9227 (c)
          (702) 472-8605 (f)
    12

    13
         BY U.S. MAIL: By placing a true copy thereof enclosed in a sealed envelope for collection and
    14   delivery by the United States Postal Service or private delivery service following ordinary business
         practices with postage or other costs prepaid, to the parties listed below.
    15
          Registered Agent for Service of Process:               Defendant J.D. ROSS ENTERPRISES, LLC
    16                                                           dba UNIQUE CUSTOM HOMES
    17    J.D. Ross Enterprises, LLC c/o Owner
          10120 W. Flamingo Road, Ste. 4
    18    Las Vegas, NV 89147

    19    Mailing Address:
    20    P.O. Box 4624
    21    Las Vegas, NV 89147

    22

    23

    24          I declare under penalty of perjury under the laws of the United States of America that the
    25   foregoing is true and correct.
    26          Executed on November 16, 2023, at Walnut Creek, California.
    27
                                                                          /s/ Alexine Braun
    28                                                                    Alexine Braun

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         NOTICE
